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 7
                    IN THE UNITED STATES DISTRICT COURT
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                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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10                      WESTERN DIVISION – LOS ANGELES
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12   RACHEL YATES,                             Case No.: 2:21-cv-07519-CJC-RAO
13
                 Plaintiff,                    [PROPOSED] ORDER GRANTING
14                                             UNOPPOSED MOTION FOR
     vs.                                       LEAVE TO FILE FIRST
15
                                               AMENDED COMPLAINT
16   Walmart Inc.; and DOES 1-10,
17
                 Defendants.
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19         The Court, having considered the Unopposed Motion for Leave to File First
20   Amended Complaint, finds good cause to grant said motion and accepts the filing
21
     of Plaintiff’s First Amended Complaint for Patent Infringement.
22
           IT IS SO ORDERED.
23

24
     Dated: December __, 2021       _____________________________________
25                                  Hon. Cormac J. Carney
26                                  United States District Judge
27

28
     [PROPOSED] ORDER
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